       Case 1:18-cr-00218-TSC Document 126 Filed 05/17/19 Page 1 of 26


                                                                       APPEAL,CAT B,CLOSED
                             U.S. District Court
                  District of Columbia (Washington, DC)
           CRIMINAL DOCKET FOR CASE #: 1:18−cr−00218−TSC−1
                              Internal Use Only

Case title: USA v. BUTINA
Magistrate judge case number: 1:18−mj−00073−DAR

Date Filed: 07/17/2018

Assigned to: Judge Tanya S.
Chutkan

Defendant (1)
MARIIA BUTINA                      represented by A.J. Kramer
also known as                                     FEDERAL PUBLIC DEFENDER FOR THE
MARIA BUTINA                                      DISTRICT OF COLUMBIA
                                                  625 Indiana Avenue, NW
                                                  Suite 550
                                                  Washington, DC 20004
                                                  (202) 208−7500
                                                  Fax: (202) 501−3829
                                                  Email: a._j._kramer@fd.org
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED
                                                  Designation: Public Defender or Community
                                                  Defender Appointment

                                                  Alfred Dumetz Carry
                                                  MCGLINCHEY STAFFORD PLLC
                                                  1275 Pennsylvania Avenue, NW
                                                  Suite 420
                                                  Washington, DC 20004
                                                  (202) 802−9999
                                                  Fax: (202) 330−5897
                                                  Email: acarry@mcglinchey.com
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED
                                                  Designation: Retained

                                                  Robert Neil Driscoll
                                                  MCGLINCHEY STAFFORD PLLC
                                                  1275 Pennsylvania Avenue, NW
                                                  Suite 420
                                                  Washington, DC 20004
                                                  (202) 802−9950
                                                  Email: rdriscoll@mcglinchey.com

                                                                                              1
         Case 1:18-cr-00218-TSC Document 126 Filed 05/17/19 Page 2 of 26


                                              LEAD ATTORNEY
                                              ATTORNEY TO BE NOTICED
                                              Designation: Retained

Pending Counts                                Disposition
18:371 and 951;
IMPERSONATING AGENTS OF
                                              Defendant sentencing to Eight (18) months on
FOREIGN GOVERNMENTS;
                                              Count 1. No period of supervised release imposed.
Conspiracy to Act as an Agent of a
                                              Special Assessment of $100.00.
Foreign Government.
(1)
18:951; IMPERSONATING
AGENTS OF FOREIGN
                                              Oral motion by government to dismiss Count 2;
GOVERNMENTS; Agents of
                                              heard and GRANTED.
Foreign Government.
(2)

Highest Offense Level (Opening)
Felony

Terminated Counts                             Disposition
None

Highest Offense Level
(Terminated)
None

Complaints                                    Disposition
COMPLAINT In Violation of
18:371



Plaintiff
USA                                     represented by Erik Michael Kenerson
                                                       U.S. ATTORNEY'S OFFICE FOR THE
                                                       DISTRICT OF COLUMBIA
                                                       555 Fourth Street, NW
                                                       Suite 11−449
                                                       Washington, DC 20530
                                                       (202) 252−7201
                                                       Email: erik.kenerson@usdoj.gov
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED
                                                       Designation: Assistant U.S. Attorney

                                                      Thomas Nelson Saunders
                                                                                                  2
     Case 1:18-cr-00218-TSC Document 126 Filed 05/17/19 Page 3 of 26


                                                        UNITED STATES ATTORNEY FOR
                                                        THE DISTICT OF COLUMBIA
                                                        National Security Section
                                                        555 4th Street, NW
                                                        11th floor
                                                        Washington, DC 20001
                                                        (202) 252−7790
                                                        Email: thomas.saunders@usdoj.gov
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED
                                                        Designation: Assistant U.S. Attorney

                                                        William A. Mackie
                                                        U. S. DEPARTMENT OF JUSTICE
                                                        National Security Division
                                                        950n Pennsylvania Avenue NW
                                                        Suite 7700
                                                        Washington, DC 20530
                                                        (202) 233−2122
                                                        Email: Will.Mackie@usdoj.gov
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED
                                                        Designation: Assistant U.S. Attorney

Date Filed   #   Page Docket Text
07/14/2018   1        COMPLAINT as to MARIIA BUTINA (1). (Attachments: # 1 Affidavit In
                      Support of an Application for a Criminal Complaint)
                      (zjs)[1:18−mj−00073−DAR] Modified on 7/17/2018 (hsj). (Entered:
                      07/16/2018)
07/14/2018   2        MOTION to Seal Complaint and Related Documents by USA as to MARIIA
                      BUTINA. (zjs) [1:18−mj−00073−DAR] (Entered: 07/16/2018)
07/14/2018   3        ORDER granting 2 Motion to Seal Complaint and Related Documents as to
                      MARIIA BUTINA (1).Signed by Magistrate Judge Deborah A. Robinson on
                      7/14/2018. (zjs) [1:18−mj−00073−DAR] (Entered: 07/16/2018)
07/16/2018            Arrest of MARIIA BUTINA. (zcal) [1:18−mj−00073−DAR] (Entered:
                      07/16/2018)
07/16/2018   4        Arrest Warrant Returned Executed on 7/16/2018 as to MARIIA BUTINA.
                      (zcal) [1:18−mj−00073−DAR] (Entered: 07/16/2018)
07/16/2018            ORAL MOTION by the Government to Unseal Case as to MARIIA BUTINA.
                      (zcal) [1:18−mj−00073−DAR] (Entered: 07/16/2018)
07/16/2018            ORAL MOTION by the Government for Temporary Detention (3−Day Hold)
                      as to MARIIA BUTINA. (zcal) [1:18−mj−00073−DAR] (Entered: 07/16/2018)
07/16/2018            Minute Entry for proceedings held before Magistrate Judge Deborah A.
                      Robinson: Initial Appearance as to MARIIA BUTINA held on 7/16/2018. Oral
                      Motion by the Government to Unseal Case as to MARIIA BUTINA (1); heard
                      and granted. Oral Motion by the Government for Temporary Detention (3−Day

                                                                                                  3
     Case 1:18-cr-00218-TSC Document 126 Filed 05/17/19 Page 4 of 26



                    Hold) as to MARIIA BUTINA (1); heard and granted. The Government
                    represented that the Defendant's Consular Notification was made prior to
                    today's hearing. Preliminary/Detention Hearing set for 7/18/2018 at 01:30 PM
                    in Courtroom 4 before Magistrate Judge Deborah A. Robinson.
                    [Medical/Mental Health Alert issued to the D.C. Department of Corrections
                    Medical Unit] Bond Status of Defendant: Defendant Held without Bond/
                    Commitment Issued; Court Reporter: FTR − Gold; FTR Time Frame: Ctrm 4
                    [1:41:32 − 1:50:59; (Sealed: 1:51:27 − 1:53:34); 1:53:34 − 1:54:38]; Defense
                    Attorney: Robert Driscoll; US Attorney: Erik Kenerson and Wiliam Mackie;
                    Pretrial Officer: Masharia Holman. (zcal) [1:18−mj−00073−DAR] (Entered:
                    07/16/2018)
07/17/2018   6      TRANSCRIPT OF PROCEEDINGS in case as to MARIIA BUTINA before
                    Magistrate Judge Deborah A. Robinson held on July 16, 2018; Page Numbers:
                    1−8. Date of Issuance: July 17, 2018. Transcriber Janice Dickman, Telephone
                    number 202−354−3267, Transcripts may be ordered by submitting the <a
                    href="http://www.dcd.uscourts.gov/node/110">Transcript Order
                    Form</a><P></P>For the first 90 days after this filing date, the transcript may
                    be viewed at the courthouse at a public terminal or purchased from the court
                    reporter referenced above. After 90 days, the transcript may be accessed via
                    PACER. Other transcript formats, (multi−page, condensed, CD or ASCII) may
                    be purchased from the court reporter.<P>NOTICE RE REDACTION OF
                    TRANSCRIPTS: The parties have twenty−one days to file with the court and
                    the court reporter any request to redact personal identifiers from this transcript.
                    If no such requests are filed, the transcript will be made available to the public
                    via PACER without redaction after 90 days. The policy, which includes the
                    five personal identifiers specifically covered, is located on our website at
                    www.dcd.uscourts.gov.<P></P> Redaction Request due 8/7/2018. Redacted
                    Transcript Deadline set for 8/17/2018. Release of Transcript Restriction set for
                    10/15/2018.(Dickman, Janice) [1:18−mj−00073−DAR] (Entered: 07/17/2018)
07/17/2018   7      INDICTMENT as to MARIIA BUTINA (1) count(s) 1, 2. (hsj) (Entered:
                    07/17/2018)
07/18/2018          MINUTE ORDER as to MARIIA BUTINA: It is ORDERED that the July 16,
                    2018 recording of the bench conference (FTR−Gold Time Frame: 1:51:27 −
                    1:53:34), now under seal, is hereby UNSEALED. So Ordered by Magistrate
                    Judge Deborah A. Robinson on 7/18/2018. (cal) (Entered: 07/18/2018)
07/18/2018   8      MEMORANDUM in Support of Pretrial Detention by USA as to MARIIA
                    BUTINA (Attachments: # 1 Exhibit A)(Kenerson, Erik) (Entered: 07/18/2018)
07/18/2018   9      Consent MOTION for Order permitting Defendant to appear at in−court
                    proceedings in civilian clothes and without restraints by MARIIA BUTINA.
                    (Attachments: # 1 Text of Proposed Order)(Carry, Alfred) (Entered:
                    07/18/2018)
07/18/2018          MINUTE ORDER denying 9 Motion for Order permitting Defendant MARIIA
                    BUTINA to appear at in−court proceedings in civilian clothes is DENIED. By
                    said motion, counsel for Defendant requests action by the United States
                    Marshal Service not customarily provided, except in instances in which an
                    individual in custody appears before a jury. In any event, said motion was not
                    filed until forty minutes prior to the start of the scheduled hearing, affording no
                    opportunity for consideration by the Marshal of said request. So Ordered by
                                                                                                          4
     Case 1:18-cr-00218-TSC Document 126 Filed 05/17/19 Page 5 of 26



                    Magistrate Judge Deborah A. Robinson on 7/18/2018. (cal) (Entered:
                    07/18/2018)
07/18/2018          ORAL MOTION to Commit Defendant MARIIA BUTINA to Custody of
                    Attorney General. (cal) (Entered: 07/18/2018)
07/18/2018          ORAL MOTION for Release from Custody by MARIIA BUTINA. (cal)
                    (Entered: 07/18/2018)
07/18/2018          Minute Entry for proceedings held before Magistrate Judge Deborah A.
                    Robinson: Detention Hearing/Arraignment as to MARIIA BUTINA (1): Count
                    1,2 held on 7/18/2018. Not Guilty Plea as to all counts. Oral Motion to Commit
                    Defendant MARIIA BUTINA (1) to Custody of Attorney General; heard and
                    granted. Oral Motion for Release from Custody by MARIIA BUTINA (1);
                    heard and denied. Pretrial Detention Ordered. Status Conference set for
                    7/24/2018 at 10:00 AM in Courtroom 9 before Judge Tanya S. Chutkan. Bond
                    Status of Defendant: Defendant Committed/ Commitment Issued; Court
                    Reporter: Lisa Edwards; FTR Time Frame: Ctrm 4 [1:40:58 − 2:26:35; 2:42:51
                    − 3:19:06]; Defense Attorney: Robert Driscoll, Alfred Carry, and Daniel
                    Plunkett; US Attorney: Erik Kenerson, William Mackie, and Deborah Curtis;
                    Pretrial Officer: Masharia Holman; 1 Government Witness: Joseph Stowell. [3
                    Government Exhibits admitted into Evidence, 2 Defense Exhibits admitted into
                    Evidence] (cal) (Entered: 07/18/2018)
07/18/2018   10     EXHIBIT LIST by USA as to MARIIA BUTINA. (cal) (Entered: 07/18/2018)
07/18/2018   11     EXHIBIT LIST by MARIIA BUTINA. (cal) (Entered: 07/18/2018)
07/18/2018   12     TRANSCRIPT OF PROCEEDINGS in case as to MARIIA BUTINA before
                    Magistrate Judge Deborah A. Robinson held on July 18, 2018; Page Numbers:
                    1−73. Date of Issuance: July 18, 2018. Court Reporter/Transcriber Lisa
                    Edwards, Telephone number (202) 354−3269, Transcripts may be ordered by
                    submitting the Transcript Order Form

                    For the first 90 days after this filing date, the transcript may be viewed at the
                    courthouse at a public terminal or purcha sed from the court reporter referenced
                    above. After 90 days, the transcript may be accessed via PACER. Other
                    transcript formats, (multi−page, condensed, CD or ASCII) may be purchased
                    from the court reporter.

                    NOTICE RE REDACTION OF TRANSCRIPTS: The parties have
                    twenty−one days to file with the court and the court reporter any request to
                    redact personal identifiers from this transcript. If no such requests are filed, the
                    transcript will be made available to the public via PACER without redaction
                    after 90 days. The policy, which includes the five personal identifiers
                    specifically covered, is located on our website at www.dcd.uscourts.gov.

                    Redaction Request due 8/8/2018. Redacted Transcript Deadline set for
                    8/18/2018. Release of Transcript Restriction set for 10/16/2018.(Edwards,
                    Lisa) (Entered: 07/18/2018)
07/19/2018   13     TRANSCRIPT OF PROCEEDINGS in case as to MARIIA BUTINA before
                    Magistrate Judge Deborah A. Robinson held on July 16, 2018 UNSEALED;
                    Page Numbers: 1−12. Date of Issuance: July 19, 2018. Transcriber Janice

                                                                                                           5
     Case 1:18-cr-00218-TSC Document 126 Filed 05/17/19 Page 6 of 26



                    Dickman, Telephone number 202−354−3267, Transcripts may be ordered by
                    submitting the <a href="http://www.dcd.uscourts.gov/node/110">Transcript
                    Order Form</a><P></P>For the first 90 days after this filing date, the
                    transcript may be viewed at the courthouse at a public terminal or purchased
                    from the court reporter referenced above. After 90 days, the transcript may be
                    accessed via PACER. Other transcript formats, (multi−page, condensed, CD or
                    ASCII) may be purchased from the court reporter.<P>NOTICE RE
                    REDACTION OF TRANSCRIPTS: The parties have twenty−one days to
                    file with the court and the court reporter any request to redact personal
                    identifiers from this transcript. If no such requests are filed, the transcript will
                    be made available to the public via PACER without redaction after 90 days.
                    The policy, which includes the five personal identifiers specifically covered, is
                    located on our website at www.dcd.uscourts.gov.<P></P> Redaction Request
                    due 8/9/2018. Redacted Transcript Deadline set for 8/19/2018. Release of
                    Transcript Restriction set for 10/17/2018.(Dickman, Janice) (Entered:
                    07/19/2018)
07/19/2018          Set/Reset Hearings as to MARIIA BUTINA:Status Conference reset for
                    7/25/2018 at 10:15 AM in Courtroom 9 before Judge Tanya S. Chutkan. (tb)
                    (Entered: 07/19/2018)
07/24/2018   14     NOTICE OF ATTORNEY APPEARANCE Thomas Nelson Saunders
                    appearing for USA. (Saunders, Thomas) (Entered: 07/24/2018)
07/24/2018   15     DETENTION MEMORANDUM as to MARIIA BUTINA Signed by
                    Magistrate Judge Deborah A. Robinson on 07/24/2018. (lcdar3) (Entered:
                    07/24/2018)
07/25/2018          Minute Entry: Status Conference as to MARIIA BUTINA held on 7/25/2018
                    before Judge Tanya S. Chutkan: Government shall file proposed protective
                    order by 08/08/18 and the defendant may file any objection(s) or a protective
                    order by 08/15/18. Status Conference set for 9/10/2018 at 02:00 PM in
                    Courtroom 9 before Judge Tanya S. Chutkan. The Court finds in interest of
                    justice (XT) that the time between 07/25/18 and 09/10/18 shall be excluded
                    from the speedy trial calculation. Defendant committed; commitment issued.
                    Court Reporter: Bryan Wayne; Defense Attorney: Robert Driscoll and Alfred
                    Carry; US Attorney: Tom Saunders and Erik Kenerson. (tb) (Entered:
                    07/25/2018)
07/25/2018          Set/Reset Deadlines as to MARIIA BUTINA: Government's protective order
                    due by 8/8/2018. Defendant's response due by 8/15/2018. (tb) (Entered:
                    07/25/2018)
07/25/2018   16     TRANSCRIPT OF 7/25/18 STATUS HEARING in case as to MARIIA
                    BUTINA, before Judge Tanya S. Chutkan, held on July 25, 2018; Page
                    Numbers: 1−27. Date of Issuance: July 25, 2018. Court Reporter: Bryan A.
                    Wayne. Transcripts may be ordered by submitting the Transcript Order Form

                    For the first 90 days after this filing date, the transcript may be viewed at the
                    courthouse at a public terminal or purchased from the court reporter referenced
                    abov e. After 90 days, the transcript may be accessed via PACER. Other
                    transcript formats, (multi−page, condensed, CD or ASCII) may be purchased
                    from the court reporter.


                                                                                                           6
     Case 1:18-cr-00218-TSC Document 126 Filed 05/17/19 Page 7 of 26



                    NOTICE RE REDACTION OF TRANSCRIPTS: The parties have
                    twenty−one days to file with the court and the court reporter any request to
                    redact personal identifiers from this transcript. If no such requests are filed, the
                    transcript will be made available to the public via PACER without redaction
                    after 90 days. The policy, which includes the five personal identifiers
                    specifically covered, is located on our website at www.dcd.uscourts.gov.

                    Redaction Request due 8/15/2018. Redacted Transcript Deadline set for
                    8/25/2018. Release of Transcript Restriction set for 10/23/2018.(Wayne,
                    Bryan) (Entered: 07/25/2018)
07/30/2018   18     LEAVE TO FILE DENIED− Motion to Intervene and Join as to MARIIA
                    BUTINA This document is unavailable as the Court denied its filing. 'Leave to
                    File Denied Signed by Judge Tanya S. Chutkan on 7/30/2018. (hsj) (Entered:
                    08/03/2018)
08/01/2018   17     LEAVE TO FILE DENIED− Motion to Dismiss Indictment for Insufficient
                    Evidence and Lack of Jurisdiction Fed R. Crim Proc.12(b) and Defense
                    Sentencing Memorandum and Notice of Appeal of the Order Denying Bond as
                    to MARIIA BUTINA This document is unavailable as the Court denied its
                    filing. "Leave to File Denied" Signed by Judge Tanya S. Chutkan on 8/1/2018.
                    (hsj) (Entered: 08/03/2018)
08/06/2018   19     NOTICE OF ATTORNEY APPEARANCE William A. Mackie appearing for
                    USA. (Mackie, William) (Entered: 08/06/2018)
08/08/2018   20     Unopposed MOTION for Protective Order by USA as to MARIIA BUTINA.
                    (Attachments: # 1 Text of Proposed Order)(Kenerson, Erik) (Entered:
                    08/08/2018)
08/10/2018   21     PROTECTIVE ORDER setting forth procedures for handling confidential
                    material; allowing designated material to be filed under seal as to MARIIA
                    BUTINA. Signed by Judge Tanya S. Chutkan on 08/08/18. (tb) (Entered:
                    08/10/2018)
08/23/2018   22     NOTICE of Filing by USA as to MARIIA BUTINA (Attachments: # 1 Letter
                    from Govt to Def)(Saunders, Thomas) (Entered: 08/23/2018)
08/24/2018   23     MOTION to Review Bond and to Modify Pretrial Order of Detention by
                    MARIIA BUTINA. (Attachments: # 1 Memorandum in Support, # 2 Ex. 1, # 3
                    Ex. 2, # 4 Ex. 3, # 5 Ex. 4, # 6 Ex. 5, # 7 Ex. 6, # 8 Ex. 7, # 9 Ex. 8, # 10 Ex. 9,
                    # 11 Text of Proposed Order)(Carry, Alfred) (Entered: 08/24/2018)
08/24/2018          MINUTE ORDER as to MARIIA BUTINA. In light of the Governments letter
                    of August 23, 2018 22 and the courts discussion regarding statements to the
                    media at the 7/25/2018 status conference, the parties may file submissions
                    setting forth reasons why the court should not enter an order pursuant to Local
                    Rule 57.7(c), requiring all interested parties to refrain from making further
                    statements to the media or in public settings that are substantially likely to have
                    a materially prejudicial effect on the conduct of this case. Any submissions are
                    due at 2:00 PM on 9/9/18. The court expects to address this issue along with
                    the Defendants bond review motion 23 at the status conference scheduled for
                    9/10/18. SO ORDERED By Judge Tanya S. Chutkan on 8/24/2018. (jth)
                    (Entered: 08/24/2018)

                                                                                                           7
     Case 1:18-cr-00218-TSC Document 126 Filed 05/17/19 Page 8 of 26



08/31/2018   24     RESPONSE by USA as to MARIIA BUTINA Resp. to Court's Aug. 24 Minute
                    Order (Media Stmts.) (Attachments: # 1 Text of Proposed Order)(Saunders,
                    Thomas) (Entered: 08/31/2018)
09/07/2018   25     RESPONSE by MARIIA BUTINA re Order,,,, Set Deadlines,,, and the Minute
                    Order of Aug. 24, 2018, concerning Local Rule 57.7(c) (Carry, Alfred)
                    (Entered: 09/07/2018)
09/07/2018   26     Memorandum in Opposition by USA as to MARIIA BUTINA re 23 MOTION
                    to Review Bond and to Modify Pretrial Order of Detention (Kenerson, Erik)
                    (Entered: 09/07/2018)
09/07/2018   28     RESPONSE TO MINUTE ORDER OF THE COURT on 8/24/2018 by
                    MARIIA BUTINA. (See Docket Entry 25 to View Document). (hsj) (Entered:
                    09/10/2018)
09/09/2018   27     REPLY in Support by MARIIA BUTINA re 23 MOTION to Review Bond and
                    to Modify Pretrial Order of Detention (Carry, Alfred) (Entered: 09/09/2018)
09/10/2018   29     TRANSCRIPT OF 9/10/18 STATUS HEARING in case as to MARIIA
                    BUTINA, before Judge Tanya S. Chutkan, held on September 10, 2018. Page
                    Numbers: 1−26. Date of Issuance: September 10, 2018. Court Reporter: Bryan
                    A. Wayne. Transcripts may be ordered by submitting the Transcript Order
                    Form

                    For the first 90 days after this filing date, the transcript may be viewed at the
                    courthouse at a public terminal or purchased from the court reporter refer enced
                    above. After 90 days, the transcript may be accessed via PACER. Other
                    transcript formats, (multi−page, condensed, CD or ASCII) may be purchased
                    from the court reporter.

                    NOTICE RE REDACTION OF TRANSCRIPTS: The parties have
                    twenty−one days to file with the court and the court reporter any request to
                    redact personal identifiers from this transcript. If no such requests are filed, the
                    transcript will be made available to the public via PACER without redaction
                    after 90 days. The policy, which includes the five personal identifiers
                    specifically covered, is located on our website at www.dcd.uscourts.gov.

                    Redaction Request due 10/1/2018. Redacted Transcript Deadline set for
                    10/11/2018. Release of Transcript Restriction set for 12/9/2018.(Wayne,
                    Bryan) (Entered: 09/10/2018)
09/10/2018          Minute Entry: Status Conference as to MARIIA BUTINA held on 9/10/2018
                    before Judge Tanya S. Chutkan: Defendant's Motion to Review Bond and to
                    Modify Pretrial Order of Detention is hereby DENIED. The Court will issue
                    gag order. Motions due by 10/26/2018. Responses due by 11/9/2019. Reply
                    due by 11/12/2018. Status Conference set for 11/13/2018 at 10:00 AM in
                    Courtroom 9 before Judge Tanya S. Chutkan. The Court finds in the interest of
                    justice (XT) that the time between 09/10/18 and 11/13/18 shall be excluded
                    from the speedy trial calculation. Defendant committed; commitment issued.
                    Court Reporter: Bryan Wayne; Defense Attorney: Alfred Carry and Robert
                    Driscoll; US Attorney: Erik Henderson and Thomas Saunders. (tb) (Entered:
                    09/11/2018)


                                                                                                           8
     Case 1:18-cr-00218-TSC Document 126 Filed 05/17/19 Page 9 of 26



09/10/2018   30     NOTICE of Filing by MARIIA BUTINA re 23 MOTION to Review Bond and
                    to Modify Pretrial Order of Detention. (hsj) (Entered: 09/11/2018)
09/12/2018   31     VACATED PURSUANT TO MINUTE ORDER FILED ON
                    12/21/2018.....ORDER: Pursuant to Local Criminal Rule 57.7(c) regarding
                    statements to the media or in public settings as to MARIIA BUTINA. Signed
                    by Judge Tanya S. Chutkan on 09/12/18. (tb) Modified on 12/21/2018 (tb).
                    (Entered: 09/12/2018)
09/21/2018   32     ORDER TO SHOW CAUSE: By 5:00 PM today Friday 9/21/18 the Defendant
                    shall show cause why this court should not quash the subpoena issued to the
                    American University. (See order for further details). Signed by Judge Tanya S.
                    Chutkan on 9/21/2018. (jth) (Entered: 09/21/2018)
09/21/2018   33     ORDER of Authorization for Transportation of Prisoner for Interview Purposes
                    at the U.S. Attorney's Office or the Alexandria Public Safety Center. (See the
                    order for complete details). Signed by Judge Tanya S. Chutkan on 9/21/2018.
                    (zjth) Modified on 12/14/2018 (zhsj). (Entered: 09/21/2018)
09/21/2018   34     MOTION for Extension of Time to Reply to the Order to Show Cause by
                    MARIIA BUTINA. (Carry, Alfred) (Entered: 09/21/2018)
09/21/2018          MINUTE ORDER: Defendants Motion for Extension of Time to Reply to the
                    Order to Show Cause 34 is hereby GRANTED. By 5:00 PM on Saturday,
                    September 22, 2018, the Defendant shall show cause why this court should not
                    quash the subpoena issued to the American University. Signed by Judge Tanya
                    S. Chutkan on 9/21/2018. (jth) (Entered: 09/21/2018)
09/21/2018   35     MOTION for Authorization of Transportation filed by USA as to MARIIA
                    BUTINA. (Attachments: # 1 Text of Proposed Order) (zhsj) Modified on
                    12/14/2018 (hsj). (Entered: 09/21/2018)
09/22/2018   36     REPLY by MARIIA BUTINA re 32 Order to Show Cause (Attachments: # 1
                    Subpoena Duces Tecum to American University)(Carry, Alfred) Modified to
                    add link on 9/25/2018 (znmw). (Entered: 09/22/2018)
09/24/2018          MINUTE ORDER as to MARIIA BUTINA: Counsel for the Defendant is
                    hereby directed to serve a copy of 36 , the Defendants response to the Order to
                    Show Cause, on counsel for American University and file a certificate of
                    service on the docket. Signed by Judge Tanya S. Chutkan on 9/24/18. (DJS)
                    (Entered: 09/24/2018)
09/24/2018   37     NOTICE of Certificate of Service in re service of the Order to Show Cause
                    (Doc. 32) and Defendant's Reply (Doc. 36) on counsel for American University
                    by MARIIA BUTINA (Carry, Alfred) (Entered: 09/24/2018)
09/24/2018   38     RESPONSE by USA as to MARIIA BUTINA re 36 Reply to document Order
                    to Show Cause (Kenerson, Erik) (Entered: 09/24/2018)
09/25/2018          Set/Reset Deadlines as to MARIIA BUTINA: Show Cause Response due by
                    5:00 p.m. on 9/22/2018. (tb) (Entered: 09/25/2018)
10/05/2018          MINUTE ORDER: The court hereby GRANTS the ex parte motions to quash
                    the subpoena duces tecum (see ECF 32) without prejudice for failure to comply
                    with the procedural requirements of Federal Rule of Criminal Procedure 17(c).
                    If Defendant still seeks the issuance of a Rule 17(c) subpoena for the records, it

                                                                                                         9
    Case 1:18-cr-00218-TSC Document 126 Filed 05/17/19 Page 10 of 26



                    shall file a proper motion within seven (7) days. The motion shall address, with
                    specificity, the following questions: (1) What party and/or entities or persons, if
                    any, should receive the motion and be given an opportunity to contest the
                    subpoena in part or full?; (2) Does the requested material satisfy the
                    requirements of Rule 17(c)?; and (3) Should the subpoenaed documents be
                    delivered to the court or to an address specified by Defendant? The court's
                    September 21, 2018 Order to Show Cause is deemed resolved. SO ORDERED
                    − by Judge Tanya S. Chutkan on 10/05/18. (tb) (Entered: 10/05/2018)
10/12/2018   39     MOTION for Order Authorizing Issuance of Rule 17(c) Subpoena by MARIIA
                    BUTINA. (Attachments: # 1 Memorandum in Support, # 2 Proposed Rule
                    17(c) Subpoena, # 3 Text of Proposed Order)(Carry, Alfred) (Entered:
                    10/12/2018)
10/14/2018   40     NOTICE of Filing by MARIIA BUTINA (Attachments: # 1 Ltr. from Def. to
                    Govt re Discovery)(Carry, Alfred) (Entered: 10/14/2018)
10/16/2018          MINUTE ORDER as to MARIIA BUTINA: If the Government wishes to file
                    an opposition to 39 Defendant's Motion for Issuance of Rule 17(c) Subpoena, it
                    shall by October 19, 2018 at 5:00 p.m. Defendant may file a reply, if needed,
                    by October 24, 2018 at 5:00 p.m. SO ORDERED − by Judge Tanya S. Chutkan
                    on 10/15/18. (tb) Modified on 10/16/2018 (tb). (Entered: 10/16/2018)
10/22/2018   41     NOTICE of Filing by MARIIA BUTINA (Attachments: # 1 Redacted Ltr. from
                    Def. to Govt 2018−Oct−22)(Carry, Alfred) (Entered: 10/22/2018)
10/22/2018   42     NOTICE Of Filing by USA as to MARIIA BUTINA (Attachments: # 1 Letter
                    to Defense Counsel)(Kenerson, Erik) (Entered: 10/22/2018)
10/23/2018   43     MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL filed by USA
                    as to MARIIA BUTINA. (Attachments: # 1 Text of Proposed Order, # 2
                    Motion for Authorization of Transportation, # 3 Text of Proposed
                    Order)(Saunders, Thomas) Modified on 12/14/2018 (hsj). (Entered:
                    10/23/2018)
10/25/2018   44     Joint MOTION to Continue Status Conference by USA as to MARIIA
                    BUTINA. (Attachments: # 1 Text of Proposed Order)(Kenerson, Erik)
                    (Entered: 10/25/2018)
10/26/2018   45     ORDER as to MARIIA BUTINA: Granting motion for authorization to
                    transport. Signed by Judge Tanya S. Chutkan on 10/26/18.(tb) Modified on
                    12/14/2018 (hsj). (Entered: 10/26/2018)
10/26/2018   46     ORDER as to MARIIA BUTINA: Granting Motion for Leave to File. Signed
                    by Judge Tanya S. Chutkan on 10/26/18.(tb) Modified on 12/14/2018 (hsj).
                    (Entered: 10/26/2018)
10/26/2018   47     ORDER: Upon consideration of the parties' 44 Joint Motion to Continue Status
                    Hearing as to MARIIA BUTINA (1); it is hereby ordered that the motion is
                    GRANTED. It is further ordered that the parties shall appear for a status
                    hearing on 120618 at 11:00 a.m. SEE ORDER FOR MORE DETAILS. Signed
                    by Judge Tanya S. Chutkan on 10/26/18. (tb) (Entered: 10/26/2018)
10/26/2018          Set/Reset Deadlines/Hearings as to MARIIA BUTINA: Dispositive motion due
                    by 11/16/2018. Response due by 11/30/2018. Reply due by 12/3/2018. Status
                    Conference set for 12/6/2018 at 11:00 AM in Courtroom 9 before Judge Tanya
                                                                                                          10
    Case 1:18-cr-00218-TSC Document 126 Filed 05/17/19 Page 11 of 26



                    S. Chutkan. (tb) Modified on 10/26/2018 (tb). (Entered: 10/26/2018)
10/26/2018   49     MOTION for Authorization of Transportation filed by USA as to MARIIA
                    BUTINA. (hsj) Modified on 12/14/2018 (hsj). (Entered: 11/01/2018)
10/31/2018   48     ORDER: Defendant's 39 Motion for Issuance of Rule (17)(c) Subpoena (to
                    American University) is GRANTED with modifications and conditions. See
                    Order for more details. By November 12, 2018 the Defendant and Government
                    shall meet and confer and provide the court with a proposed Protective Order
                    that will govern documents, information, and objects provided by American
                    University. Signed by Judge Tanya S. Chutkan on 10/31/18. (mac) (Entered:
                    10/31/2018)
11/09/2018   50     Consent MOTION for Protective Order Governing Documents from American
                    Univ. by MARIIA BUTINA. (Attachments: # 1 Stipulated Protective Order
                    Governing Documents from American Univ.)(Carry, Alfred) (Entered:
                    11/09/2018)
11/13/2018   51     ORDER: The Consent Motion for Protective Order Governing Documents
                    from American University 50 is GRANTED. See Order for more details.
                    Signed by Judge Tanya S. Chutkan on 11/131/8. (tb) (Entered: 11/13/2018)
11/15/2018   52     WITHDRAWN PURSUANT TO NOTICE FILED 11/16/2018..... MOTION to
                    Dismiss Case or Compel Election between Multiplicitous Counts by MARIIA
                    BUTINA. (Attachments: # 1 Memorandum in Support, # 2 Text of Proposed
                    Order)(Carry, Alfred) Modified on 11/19/2018 (znmw). (Entered: 11/15/2018)
11/15/2018   53     WITHDRAWN PURSUANT TO NOTICE FILED 11/16/2018..... MOTION to
                    Compel Election between Multiplicitous Counts by MARIIA BUTINA. (See
                    Docket Entry 52 to View Document). (hsj) Modified on 11/19/2018 (znmw).
                    (Entered: 11/16/2018)
11/16/2018   54     Joint MOTION to Continue Status Conference by USA as to MARIIA
                    BUTINA. (Attachments: # 1 Text of Proposed Order)(Kenerson, Erik)
                    (Entered: 11/16/2018)
11/16/2018          MINUTE ORDER as to MARIIA BUTINA (1): The Joint Motion to Continue
                    Status Conference 54 is GRANTED in part. Defendant may withdraw the
                    Motions to Dismiss or Compel Election Between Multiplicitous Counts 52 53
                    without prejudice. The Defendant shall fill any dispositive motions by
                    November 28, 2018. The government's response is due December 12, 2018.
                    The Defendant's reply is due December 14, 2018. The Status Conference set
                    for December 6, 2018 is VACATED. A Status Conference is scheduled for
                    December 19, 2018 at 2:00 p.m. For the reasons stated in the court's Order on
                    October 26, 2018 47 , it is ORDERED that the time between the date of this
                    Order and December 19, 2018 shall be excluded from calculation under the
                    Speedy Trial Act, 18 U.S.C. Section 3161. SO ORDERED − by Judge Tanya
                    S. Chutkan on 11/16/18. (tb) (Entered: 11/16/2018)
11/16/2018   55     NOTICE of Withdrawal of Defendant's Motions (Docs. 52, 53) Without
                    Prejudice by MARIIA BUTINA re 53 MOTION to Compel, 52 MOTION to
                    Dismiss Case or Compel Election between Multiplicitous Counts (Carry,
                    Alfred) (Entered: 11/16/2018)
11/19/2018

                                                                                                    11
    Case 1:18-cr-00218-TSC Document 126 Filed 05/17/19 Page 12 of 26



                    Set/Reset Deadlines/Hearings as to MARIIA BUTINA: Dispositive motion due
                    by 11/28/2018. Response due by 12/12/2018. Reply due by 12/14/2018. Status
                    Conference set for 12/19/2018 at 02:00 PM in Courtroom 30A before Judge
                    Tanya S. Chutkan. (tb) (Entered: 11/19/2018)
11/23/2018   56     NOTICE of Proof of Service in re Rule 17(c) Subpoena to American University
                    by MARIIA BUTINA (Attachments: # 1 Return Copy of Rule 17(c)
                    Subpoena)(Carry, Alfred) (Entered: 11/23/2018)
11/27/2018   57     MOTION for Order Transferring Defendant Maria Butina into General
                    Population Housing by MARIIA BUTINA. (Attachments: # 1 Text of
                    Proposed Order)(Carry, Alfred) (Entered: 11/27/2018)
11/27/2018   58     NOTICE of Corrected Filing by MARIIA BUTINA re 57 MOTION for Order
                    Transferring Defendant Maria Butina into General Population Housing
                    (Attachments: # 1 Errata Corrected Motion, # 2 Text of Proposed Order)(Carry,
                    Alfred) (Entered: 11/27/2018)
11/27/2018   59     CORRECTED 57 MOTION to Transfer Defendant Maria Butina into General
                    Population Housing by MARIIA BUTINA. (Attachments: # 1 Text of
                    Proposed Order) (hsj) (Entered: 11/28/2018)
11/28/2018   60     Joint MOTION to Vacate Dispositive Motions Schedule by USA as to MARIIA
                    BUTINA. (Saunders, Thomas) (Entered: 11/28/2018)
11/28/2018   61     Defendant's Corrected Motion to Transfer Defendant Maria Butina into
                    General Population Housing 59 is DENIED. See Order for more details. Signed
                    by Judge Tanya S. Chutkan on 11/28/2018. (jth) (Entered: 11/28/2018)
11/30/2018          MINUTE ORDER: The Joint Motion to Vacate Dispositive Motions Schedule
                    60 is GRANTED. The Status Conference will be held on December 19, 2018 at
                    2:30 p.m. unless the parties request an earlier date. SO ORDERED − by Judge
                    Tanya S. Chutkan on 11/30/18. (tb) (Entered: 11/30/2018)
11/30/2018          Set/Reset Hearings as to MARIIA BUTINA:Status Conference reset for
                    12/19/2018 at (TIME CHANGE) 02:30 PM in Courtroom 9 before Judge
                    Tanya S. Chutkan. (tb) (Entered: 11/30/2018)
12/05/2018   62     MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL as to
                    MARIIA BUTINA. (Attachments: # 1 UNDER SEAL Motion for Telephone
                    Conference on Dec. 6, 2018 at 11:00 A.M.) (Carry, Alfred) Modified on
                    12/14/2018 (hsj). (Entered: 12/05/2018)
12/05/2018          MINUTE ORDER: A telephone conference is scheduled for December 6, 2018
                    at 11:00 a.m. Signed by Judge Tanya S. Chutkan on 12/5/2018. (lctsc3)
                    (Entered: 12/05/2018)
12/06/2018          Set/Reset Deadlines/Hearings as to MARIIA BUTINA: Telephone Conference
                    set for 12/6/2018 at 11:00 AM in Courtroom 9 before Judge Tanya S. Chutkan.
                    (tb) (Entered: 12/06/2018)
12/06/2018          Minute Entry: Telephone Conference as to MARIIA BUTINA held on
                    12/6/2018 before Judge Tanya S. Chutkan: Defendant's presence waived;
                    defendant remains committed. Court Reporter: Bryan Wayne; Defense
                    Attorney: Robert Driscoll and Alfred Carry; US Attorney: Erik Kenreson and
                    Thomas Saunders. (tb) (Entered: 12/06/2018)

                                                                                                    12
    Case 1:18-cr-00218-TSC Document 126 Filed 05/17/19 Page 13 of 26



12/06/2018          MINUTE ORDER: The court appoints A.J. Kramer as advisory counsel to
                    Defendant Mariia Butina. SO ORDERED − by Judge Tanya S. Chutkan on
                    12/06/18. (tb) (Entered: 12/06/2018)
12/06/2018          MINUTE ORDER TO SHOW CAUSE: By December 10, 2018 at 5:00 p.m.
                    the Defendant shall show cause in writing why the court should not unseal the
                    sealed portion of the transcript of the telephone conference held on December
                    6, 2018. SO ORDERED − by Judge Tanya S. Chutkan on 12/06/18. (tb)
                    (Entered: 12/06/2018)
12/10/2018   63     Joint MOTION for Hearing by USA as to MARIIA BUTINA. (Kenerson, Erik)
                    (Entered: 12/10/2018)
12/10/2018   64     RESPONSE TO ORDER TO SHOW CAUSE by MARIIA BUTINA re Minute
                    Order Dec. 6, 2018 Minute Order to Show Cause (Carry, Alfred) Modified
                    event title on 12/12/2018 (znmw). (Entered: 12/10/2018)
12/10/2018          MINUTE ORDER as to MARIIA BUTINA: The 63 Joint Motion to Set
                    Change of Plea Hearing is GRANTED. The hearing is scheduled for December
                    12, 2018 at 3:15 p.m. before Judge Tanya S. Chutkan in Courtroom 9. SO
                    ORDERED − by Judge Tanya S. Chutkan on 12/10/18. (tb) (Entered:
                    12/10/2018)
12/10/2018          Set/Reset Hearings as to MARIIA BUTINA: Plea Agreement Hearing set for
                    12/12/2018 at 03:15 PM in Courtroom 9 before Judge Tanya S. Chutkan. (tb)
                    (Entered: 12/10/2018)
12/11/2018          MINUTE ORDER: The hearing scheduled for December 12, 2018 at 3:15 p.m.
                    is VACATED. The hearing is now scheduled for December 13, 2018 at 10:30
                    a.m. in Courtroom 9. SO ORDERED − by Judge Tanya S. Chutkan on
                    12/11/18. (tb) (Entered: 12/11/2018)
12/13/2018          Minute Entry: Plea Agreement Hearing as to MARIIA BUTINA held on
                    12/13/2018 before Judge Tanya S. Chutkan on Count 1: Plea of GUILTY
                    entered by MARIIA BUTINA (1) as to Count 1. Court orally rules that all
                    portions of the last hearing on December 6, 2018 and today's bench
                    conferences are to be unsealed. Docket entries 33, 35, 43, 45, 46, 49 and 62
                    shall all be unsealed. Docket 62 shall be terminated as moot. The appointment
                    of A.J. Kramer is hereby discharged. The Courts December 6, 2018 order to
                    show cause is deemed resolved. The status hearing currently scheduled for
                    December 19, 2018 is VACATED. Status Conference set for 2/12/2019 at
                    10:00 AM in Courtroom 9 before Judge Tanya S. Chutkan. REFERRAL TO
                    PROBATION OFFICE for Presentence Investigation as to MARIIA BUTINA.
                    Defendant committed; commitment issued. Court Reporter: Bryan Wayne;
                    Defense Attorney: Robert Driscoll and Aflred Carry, AJ Kramer; US Attorney:
                    Erik Kenerson, Thomas Saunders and William Mackie. (tb) (Entered:
                    12/13/2018)
12/13/2018   65     WAIVER of Right to Trial by Jury as to MARIIA BUTINA. Signed by Judge
                    Tanya S. Chutkan on 12/13/18. (tb) (Entered: 12/13/2018)
12/13/2018   66     STATEMENT OF OFFENSE by USA and MARIIA BUTINA as to MARIIA
                    BUTINA. (tb) (Entered: 12/13/2018)
12/13/2018   67     PLEA AGREEMENT as to MARIIA BUTINA. (tb) (Entered: 12/13/2018)

                                                                                                    13
    Case 1:18-cr-00218-TSC Document 126 Filed 05/17/19 Page 14 of 26



12/13/2018   68     TRANSCRIPT OF 12/6/18 TELEPHONE CONFERENCE in case as to
                    MARIIA BUTINA, before Judge Tanya S. Chutkan, held on December 6,
                    2018. Page Numbers: 1−17. Date of Issuance: 12/13/18. Court Reporter: Bryan
                    A. Wayne. Transcripts may be ordered by submitting the Transcript Order
                    Form

                    For the first 90 days after this filing date, the transcript may be viewed at the
                    courthouse at a public terminal or purchased from the court reporter referenced
                    above. After 90 days, the transcript may be accessed via PACER. Other
                    transcript formats, (multi−page, condensed, CD or ASCII) may be purchased
                    from the court reporter.

                    NOTICE RE REDACTION OF TRANSCRIPTS: The parties have
                    twenty−one days to file with the court and the court reporter any request to
                    redact personal identifiers from this transcript. If no such requests are filed, the
                    transcript will be made available to the public via PACER without redaction
                    after 90 days. The policy, which includes the five personal identifiers
                    specifically covered, is located on our website at www.dcd.uscourts.gov.

                    Redaction Request due 1/3/2019. Redacted Transcript Deadline set for
                    1/13/2019. Release of Transcript Restriction set for 3/13/2019.(Wayne, Bryan)
                    (Entered: 12/13/2018)
12/13/2018   69     TRANSCRIPT OF PLEA HEARING in case as to MARIIA BUTINA, before
                    Judge Tanya S. Chutkan, held on December 13, 2018. Page Numbers: 1−56.
                    Date of Issuance: 12/13/18. Court Reporter: Bryan A. Wayne. Transcripts may
                    be ordered by submitting the Transcript Order Form

                    For the first 90 days after this filing date, the transcript may be viewed at the
                    courthouse at a public terminal or purchased from the court reporter referenced
                    above. After 9 0 days, the transcript may be accessed via PACER. Other
                    transcript formats, (multi−page, condensed, CD or ASCII) may be purchased
                    from the court reporter.

                    NOTICE RE REDACTION OF TRANSCRIPTS: The parties have
                    twenty−one days to file with the court and the court reporter any request to
                    redact personal identifiers from this transcript. If no such requests are filed, the
                    transcript will be made available to the public via PACER without redaction
                    after 90 days. The policy, which includes the five personal identifiers
                    specifically covered, is located on our website at www.dcd.uscourts.gov.

                    Redaction Request due 1/3/2019. Redacted Transcript Deadline set for
                    1/13/2019. Release of Transcript Restriction set for 3/13/2019.(Wayne, Bryan)
                    (Entered: 12/13/2018)
12/14/2018   70     NOTICE of Withdrawal of Defendant Maria Butina's Rule 17(c) Subpoena to
                    American University by MARIIA BUTINA (Carry, Alfred) (Entered:
                    12/14/2018)
12/17/2018          MINUTE ORDER: The Court's September 12, 2018 Order, pursuant to Local
                    Criminal Rule 57.7(c), ECF No. 31, is still in effect. By December 19, 2018 at
                    5:00 p.m., the parties shall file pleadings stating their positions on the
                    continuance, modification, or vacating of the September 12, 2018 Order. SO
                                                                                                           14
    Case 1:18-cr-00218-TSC Document 126 Filed 05/17/19 Page 15 of 26



                    ORDERED − by Judge Tanya S. Chutkan on 12/17/18. (tb) Modified on
                    12/17/2018 (tb). (Entered: 12/17/2018)
12/19/2018   75     RESPONSE by USA as to MARIIA BUTINA Response to Court's Dec. 17
                    Minute Order (Kenerson, Erik) (Entered: 12/19/2018)
12/19/2018   76     RESPONSE by MARIIA BUTINA to Dec. 17, 2018 Minute Order (Carry,
                    Alfred) (Entered: 12/19/2018)
12/21/2018          MINUTE ORDER as to MARIIA BUTINA: Upon consideration of the parties'
                    responses to the court's December 17, 2018 Minute Order, it is hereby
                    ORDERED that the court's September 12, 2018 Order 31 is VACATED.
                    Attorneys are reminded to adhere to Local Criminal Rule 57.7(b). SO
                    ORDERED − by Judge Tanya S. Chutkan on 12/21/18. (tb) (Entered:
                    12/21/2018)
01/07/2019   77     LEAVE TO FILE DENIED− Amicus Brief of Alex Abouhussein as to
                    MARIIA BUTINA This document is unavailable as the Court denied its filing.
                    "Leave to File Denied". Signed by Judge Tanya S. Chutkan on 12/12/18. (ztl)
                    (Main Document 77 Replaced to Include Judge's Signature and Date on
                    2/26/2019) (hsj). Modified Event on 2/26/2019 (hsj). (Entered: 01/07/2019)
02/08/2019   83     Joint MOTION to Continue Status Conference by USA as to MARIIA
                    BUTINA. (Kenerson, Erik) (Entered: 02/08/2019)
02/08/2019          MINUTE ORDER as to MARIIA BUTINA: The Joint Motion to Continue
                    Status Conference 83 is GRANTED. The hearing is now scheduled for
                    February 26, 2019 at 2:30 p.m. in Courtroom 9. Signed by Judge Tanya S.
                    Chutkan on 2/8/2019. (lctsc3) (Entered: 02/08/2019)
02/12/2019          Set/Reset Hearings as to MARIIA BUTINA:Status Conference reset for
                    2/26/2019 at 02:30 PM in Courtroom 9 before Judge Tanya S. Chutkan. (tb)
                    (Entered: 02/12/2019)
02/26/2019   87     LEAVE TO FILE DENIED− Application for Amicus Brief In Support of
                    Allegations of Torture While in U.S. Custody as to MARIIA BUTINA This
                    document is unavailable as the Court denied its filing. "Leave to File Denied"
                    Signed by Judge Tanya S. Chutkan on 2/26/2019. (hsj) (Entered: 02/26/2019)
02/26/2019   88     TRANSCRIPT OF 2/26/19 STATUS HEARING in case as to MARIIA
                    BUTINA, before Judge Tanya S. Chutkan, held on February 26, 2019. Page
                    Numbers: 1−9. Date of Issuance: 2/26/19. Court Reporter: Bryan A. Wayne.
                    Transcripts may be ordered by submitting the Transcript Order Form

                    For the first 90 days after this filing date, the transcript may be viewed at the
                    courthouse at a public terminal or purchased from the court reporter referenced
                    above. After 90 days, the transcript may be accessed via PACER. Other
                    transcript formats, (multi−page, condensed, CD or ASCII) may be purchased
                    from the court reporter.

                    NOTICE RE REDACTION OF TRANSCRIPTS: The parties have
                    twenty−one days to file with the court and the court reporter any request to
                    redact personal identifiers from this transcript. If no such requests are filed, the
                    transcript will be made available to the public via PACER without redaction
                    after 90 days. The policy, which includes the five personal identifiers

                                                                                                           15
    Case 1:18-cr-00218-TSC Document 126 Filed 05/17/19 Page 16 of 26



                    specifically covered, is located on our website at www.dcd.uscourts.gov.

                    Redaction Request due 3/19/2019. Redacted Transcript Deadline set for
                    3/29/2019. Release of Transcript Restriction set for 5/27/2019.(Wayne, Bryan)
                    (Entered: 02/26/2019)
02/26/2019          Minute Entry: Status Conference as to MARIIA BUTINA held on 2/26/2019
                    before Judge Tanya S. Chutkan:Status Conference set for 3/28/2019 at 10:00
                    AM in Courtroom 9 before Judge Tanya S. Chutkan. Defendant committed;
                    commitment issued. Court Reporter: Bryan Wayne; Defense Attorney: Aflred
                    Carry and Robert Driscoll; US Attorney: Erk Kenerson. (tb) Modified on
                    3/28/2019 (tb). (Entered: 02/27/2019)
03/28/2019          Set/Reset Hearings as to MARIIA BUTINA:Status Conference set for
                    3/28/2019 at 10:00 AM in Courtroom 9 before Judge Tanya S. Chutkan. (tb)
                    (Entered: 03/28/2019)
03/28/2019          Minute Entry: Status Conference as to MARIIA BUTINA held on 3/28/2019
                    before Judge Tanya S. Chutkan: Government's oral motion to seal bench
                    conference; heard and GRANTED. Sentencing Memoranda due by 4/19/2019.
                    Sentencing set for 4/26/2019 at 10:00 AM in Courtroom 9 before Judge Tanya
                    S. Chutkan. Bond Status of Defendant: Defendant committed; commitment
                    issued. Court Reporter: Bryan Wayne; Defense Attorney: Aflred Carry and
                    Robert Driscoll; US Attorney: Erik Kenerson.; (tb) Modified on 3/28/2019 (tb).
                    (Entered: 03/28/2019)
03/28/2019   91     TRANSCRIPT OF 3/28/19 STATUS HEARING in case as to MARIIA
                    BUTINA, before Judge Tanya S. Chutkan, held on March 28, 2019. Page
                    Numbers: 1−6. Date of Issuance: 3/28/19. Court Reporter: Bryan A. Wayne.
                    Transcripts may be ordered by submitting the Transcript Order Form

                    For the first 90 days after this filing date, the transcript may be viewed at the
                    courthouse at a public terminal or purchased from the court reporter referenced
                    above. Af ter 90 days, the transcript may be accessed via PACER. Other
                    transcript formats, (PDF, condensed, CD or ASCII) may be purchased from the
                    court reporter.

                    NOTICE RE REDACTION OF TRANSCRIPTS: The parties have
                    twenty−one days to file with the court and the court reporter any request to
                    redact personal identifiers from this transcript. If no such requests are filed, the
                    transcript will be made available to the public via PACER without redaction
                    after 90 days. The policy, which includes the five personal identifiers
                    specifically covered, is located on our website at www.dcd.uscourts.gov.

                    Redaction Request due 4/18/2019. Redacted Transcript Deadline set for
                    4/28/2019. Release of Transcript Restriction set for 6/26/2019.(Wayne, Bryan)
                    (Entered: 03/28/2019)
03/29/2019   92     Joint MOTION for Order of Judicial Removal by USA as to MARIIA
                    BUTINA. (Attachments: # 1 Notice to Counsel/Party Notice of Intent to
                    Request Judicial Removal, # 2 Statement of Facts Factual Allegations in
                    Support of Judicial Removal, # 3 Statement of Facts Defendant's Statement in
                    Support of Judicial Removal, # 4 Notice and Consent Consent of SAC, # 5

                                                                                                           16
    Case 1:18-cr-00218-TSC Document 126 Filed 05/17/19 Page 17 of 26



                    Text of Proposed Order)(Kenerson, Erik) (Entered: 03/29/2019)
04/16/2019    96    Recommendation of PSI Report (prepared by USPO Crystal Lustig) as to
                    MARIIA BUTINA. re 95 Final Presentence Investigation Report Not for public
                    disclosure per Judicial Conference Policy.(Moses−Gregory, Renee) (Entered:
                    04/16/2019)
04/19/2019    98    SENTENCING MEMORANDUM by MARIIA BUTINA (Attachments: # 1
                    Character Letters and Certificates)(Carry, Alfred) (Entered: 04/19/2019)
04/19/2019    99    SENTENCING MEMORANDUM by USA as to MARIIA BUTINA
                    (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5
                    Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7)(Kenerson, Erik) (Entered: 04/19/2019)
04/19/2019   101    SENTENCING MEMORANDUM (Corrected) by USA as to MARIIA
                    BUTINA. (Kenerson, Erik) Modified Text on 4/22/2019 (hsj). (Entered:
                    04/19/2019)
04/21/2019   102    MOTION to Exclude Opinions and Testimony of Robert Anderson, Jr. at
                    Sentencing, MOTION to Strike Declaration of Robert Anderson, Jr. for use at
                    Sentencing by MARIIA BUTINA. (Attachments: # 1 Exhibit)(Carry, Alfred)
                    (Entered: 04/21/2019)
04/22/2019          MINUTE ORDER as to MARIIA BUTINA: The government shall respond to
                    97 Defendant's Motion to Exclude and Strike the Declaration of Robert
                    Anderson, Jr., ECF No. 102, by April 23, 2019 at 5:00 p.m. The Defendant
                    shall also file a submission by April 23, 2019 at 5:00 p.m. stating how long an
                    adjournment she would require in order to respond to the Anderson
                    Declaration. Signed by Judge Tanya S. Chutkan on 4/22/2019. (lctsc3)
                    Modified on 4/23/2019 (tb). (Entered: 04/22/2019)
04/23/2019          Set/Reset Deadlines as to MARIIA BUTINA: Defendant's submission on how
                    long an adjournment is needed due by 5:00 p.m. on 4/23/2019. Government's
                    response to motion to exclude and strike due by 5:00 p.m. on 4/23/2019. (tb)
                    (Entered: 04/23/2019)
04/23/2019   110    RESPONSE by MARIIA BUTINA to the court's April 22, 2019 Minute Order
                    (Carry, Alfred) (Entered: 04/23/2019)
04/23/2019   111    Memorandum in Opposition by USA as to MARIIA BUTINA re 102
                    MOTION to Exclude Opinions and Testimony of Robert Anderson, Jr. at
                    Sentencing MOTION to Strike Declaration of Robert Anderson, Jr. for use at
                    Sentencing (Kenerson, Erik) (Entered: 04/23/2019)
04/25/2019          MINUTE ORDER as to Mariia Butina: Defendant's 102 Motion to Exclude
                    and Strike the Declaration of Robert Anderson, Jr. is DENIED. Defendant has
                    had notice of the government's intent to call Mr. Anderson as a witness or
                    submit a Declaration from him since April 10, 2019. The court "may
                    appropriately conduct an inquiry broad in scope, largely unlimited either as to
                    the kind of information [the court] may consider, or the source from which it
                    may come." United States v. McCrory, 930 F.2d 63, 68 (D.C. Cir. 1991)
                    (quotation marks and citations omitted); see also United States v. Beaulieu, 893
                    F.2d 1177, 1179 (10th Cir. 1990) ("[C]ourts have traditionally been allowed to
                    consider all sources of information in formulating an appropriate sentence.").
                    The defense did not request additional time to prepare a rebuttal to Mr.

                                                                                                       17
    Case 1:18-cr-00218-TSC Document 126 Filed 05/17/19 Page 18 of 26



                       Anderson's Declaration, despite the court's willingness to adjourn sentencing in
                       order for it to do so. Therefore, the Sentencing Hearing will not be adjourned.
                       Signed by Judge Tanya S. Chutkan on 4/25/2019.(lctsc3) (Entered:
                       04/25/2019)
04/26/2019             Minute Entry: Sentencing held on 4/26/2019 as to MARIIA BUTINA (1)
                       before Judge Tanya S. Chutkan on Count(s) 1: Defendant sentencing to Eight
                       (18) months on Count 1. No period of supervised release imposed. Special
                       Assessment of $100.00. Oral motion by government to dismiss Count 2; heard
                       and GRANTED. Defendant committed; commitment issued. Court Reporter:
                       Bryan Wayne; Defense Attorney: Robert Driscoll and Alfred Carry; US
                       Attorney: Erik Kenerson, Thomas Saunders and William Mackie; Prob Officer:
                       Crystal Lustig. (tb) (Entered: 04/26/2019)
04/26/2019   119       ORDER: Granting 92 Joint Motion for Order of Judicial Removal as to
                       MARIIA BUTINA (1). Signed by Judge Tanya S. Chutkan on 04/26/19. (tb)
                       (Entered: 04/26/2019)
04/26/2019   120       TRANSCRIPT OF SENTENCING HEARING in case as to MARIIA
                       BUTINA, before Judge Tanya S. Chutkan, held on April 26, 2019. Page
                       Numbers: 1−43. Date of Issuance: 4/26/2019. Court Reporter: Bryan A.
                       Wayne. Transcripts may be ordered by submitting the Transcript Order Form

                       For the first 90 days after this filing date, the transcript may be viewed at the
                       courthouse at a public terminal or purchased from the court reporter referenced
                       above. Aft er 90 days, the transcript may be accessed via PACER. Other
                       transcript formats, (multi−page, condensed, CD or ASCII) may be purchased
                       from the court reporter.

                       NOTICE RE REDACTION OF TRANSCRIPTS: The parties have
                       twenty−one days to file with the court and the court reporter any request to
                       redact personal identifiers from this transcript. If no such requests are filed, the
                       transcript will be made available to the public via PACER without redaction
                       after 90 days. The policy, which includes the five personal identifiers
                       specifically covered, is located on our website at www.dcd.uscourts.gov.

                       Redaction Request due 5/17/2019. Redacted Transcript Deadline set for
                       5/27/2019. Release of Transcript Restriction set for 7/25/2019.(Wayne, Bryan)
                       (Entered: 04/26/2019)
05/01/2019   121       NOTICE of Filing by USA as to MARIIA BUTINA re 101 Errata
                       (Attachments: # 1 Exhibit 8 to Government's Memorandum in Aid of
                       Sentencing)(Kenerson, Erik) (Entered: 05/01/2019)
05/01/2019   122       NOTICE of Filing by USA as to MARIIA BUTINA re 66 Statement of
                       Offense (Attachments: # 1 Corrected Statement of Offense)(Kenerson, Erik)
                       (Entered: 05/01/2019)
05/01/2019   123   21 JUDGMENT as to MARIIA BUTINA. Statement of Reasons Not Included.
                      Signed by Judge Tanya S. Chutkan on 5/1/2019. (hsj) (Entered: 05/02/2019)
05/01/2019   124       STATEMENT OF REASONS as to MARIIA BUTINA re 123 Judgment
                       Access to the PDF Document is restricted per Judicial Conference Policy.
                       Access is limited to Counsel of Record and the Court. Signed by Judge Tanya

                                                                                                              18
    Case 1:18-cr-00218-TSC Document 126 Filed 05/17/19 Page 19 of 26



                       S. Chutkan on 5/1/2019. (hsj) (Entered: 05/02/2019)
05/15/2019   125   20 NOTICE OF APPEAL − Final Judgment by MARIIA BUTINA Fee Status: No
                      Fee Paid. Parties have been notified. (Carry, Alfred) (Entered: 05/15/2019)




                                                                                                    19
          Case 1:18-cr-00218-TSC Document 126 Filed 05/17/19 Page 20 of 26


                                                                                                  CO-290
Notice of Appeal Criminal                                                                        Rev. 3/88

                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,       )
                                )
           v.                   )                            Case No.: 1:18-cr-218 (TSC)
                                )
MARIIA BUTINA, aka MARIA BUTINA )
                                )
     Defendant.                 )
                                )

                                          NOTICE OF APPEAL

Name and address of appellant:                               Mariia Butina, a/k/a Maria Butina
                                                             Grady County Jail
                                                             Chickasha, OK 73018

Name and address of appellant’s attorney:                    Robert N. Driscoll (DC Bar #486451)
                                                             Alfred D. Carry (DC Bar #1011877)
                                                             McGlinchey Stafford PLLC
                                                             1275 Pennsylvania Avenue NW, Suite 420
                                                             Washington, DC 20004

Offense: Conspiracy to violate 18 USC § 951 (acting as an agent of a foreign official), in
violation of 18 USC § 371.

Concise statement of judgment or order, giving date, and any sentence:
Judgment in a Criminal Case, entered on the docket 5/2/19. Defendant sentenced to a term of 18
months imprisonment; no term of supervised release; and $100 special assessment.

Name and institution where now confined, if not on bail: Grady County Jail Oklahoma

        I, the above named appellant, hereby appeal to the United States Court of Appeals
for the District of Columbia Circuit from the above-stated judgment.

5/15/19                                             Mariia Butina
DATE                                                APPELLANT

                                                    Robert N. Driscoll
                                                    ATTORNEY FOR APPELLANT
CJA, NO FEE                 x
PAID USDC FEE               No
PAID USCA FEE               No

Does counsel wish to appear on appeal?            Yes        x No
Has counsel ordered transcripts?              x Yes            No
Is this appeal pursuant to the 1984 Sentencing Reform Act?     Yes   x No


                                                                                                             20
Case 1:18-cr-00218-TSC Document 126 Filed 05/17/19 Page 21 of 26




                                                                   21
Case 1:18-cr-00218-TSC Document 126 Filed 05/17/19 Page 22 of 26




                                                                   22
Case 1:18-cr-00218-TSC Document 126 Filed 05/17/19 Page 23 of 26




                                                                   23
Case 1:18-cr-00218-TSC Document 126 Filed 05/17/19 Page 24 of 26




                                                                   24
Case 1:18-cr-00218-TSC Document 126 Filed 05/17/19 Page 25 of 26




                                                                   25
Case 1:18-cr-00218-TSC Document 126 Filed 05/17/19 Page 26 of 26




                                                                   26
